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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF MARYLAND
                                                  OFFICE OF THE CLERK


                                                DEFICIENCY NOTICE

                                                         December 30, 2024
Ryan Dillon−Caps
1334 Maple Avenue
Essex, MD 21221

Re: 1:24−cv−03744−BAH Dillon−Caps v. Ohana Growth Partners, LLC et al

Docket Number: 1

On 12/27/2024, the Clerk's Office received a document from you that is deficient for one or more of the
following reasons checked below. Please correct each deficiency and file any necessary papers within 14
calendar days from the date of this letter. If you do not comply, your document may be stricken and/or
your case may be dismissed without further notice from the Court.

If checked below, this item needs correction. See Appendix for detailed explanations of the numbered
deficiency and relevant text of the cited rules. Please note that if the document you submitted is a motion,
opposing parties will not be required to respond until this deficiency is corrected.

        (1) A required signature(s) is/are missing. See Fed. R. Civ. P. 11; Local Rule 102.1(a)(ii).

        (2) The document is missing critical and necessary contact information. See Fed. R. Civ. P. 11;
        Local Rule 102.1(b)(i).

        (3) Missing filing fee or missing or incomplete application to proceed in forma pauperis ('IFP').

        (4) Motion to amend complaint or pleading does not contain proposed amended complaint or
        pleading. See Local Rule 103.6.

        (5) Other: [explain]

   X     No U.S. Marshal Form provided for Defendant Victoria Hoffberger.




                                                                                                                          /s/
                                                                                                                  Catherine M. Stavlas
                                                                                                                        Clerk of Court



               Northern Division º 4415 U.S. Courthouse º 101 W. Lombard Street º Baltimore, Maryland 21201 º 410−962−2600
               Southern Division º 240 U.S. Courthouse º 6500 Cherrywood Lane º Greenbelt, Maryland 20770 º 301−344−0660
                                         Visit the U.S. District Court's Web Site at www.mdd.uscourts.gov
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                                                              APPENDIX
I.   Detailed Explanations (corresponds with number in chart)


     1.      The document you provided does not have an original signature. An "original signature" is a
          manual, handwritten signature. An original signature is not any form of digital or electronically
          reproduced signature, including /s/. Rule 11 of Federal Rules of Civil Procedure; Local Rule
          102.1(a)(ii). You need to file the document with the original signature of each filer. For example, if
          there are multiple plaintiffs, the original signature of each plaintiff must be provided.

     2.     The document you provided does not have either your name, a valid address, telephone number (if
          any), e−mail address (if any), or a fax number (if any). Rule 11 of Federal Rules of Civil Procedure;
          Local Rule 102.1(b)(i).

     3.      You did not pay the filing fee or each plaintiff did not file an application to proceed In Forma
          Pauperis ("IFP") to waive the filing fee. You must either pay the full filing fee or, if no plaintiff can
          afford to pay the filing fee, each plaintiff must submit a fully completed and signed IFP application.
          The filing fee for a civil action is $405, and the filing fee for a habeas action is $5. A new application
          to proceed IFP is enclosed. The Court accepts the following as payment: cashier's check, money
          order, personal check, or credit card (Visa, MasterCard, American Express, and Discover). The Court
          does not accept cash as payment. Credit cards are only accepted when the cardholder is present in the
          Clerk's Office and photo identification (i.e., driver's license, passport, government issued ID) is
          required. Checks and money orders must be made payable to "Clerk, U.S. District Court."

     4.     If a motion is required to file an amended complaint or pleading, you must file both a (1) motion
          requesting leave to file an amended complaint/pleading, and (2) the original of the proposed amended
          complaint/pleading. Local Rule 103.6.



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II. Text of Applicable Rules

    A. Federal Rules of Civil Procedure

       Rule 11. Signing Pleadings, Motions, and Other Papers;
                Representations to the Court; Sanctions

       (a) Signature. Every pleading, written motion, and other paper must be signed by at least one
       attorney of record in the attorney's name or by a party personal if the party is unrepresented. The
       paper must state the signer's address, e−mail address, and telephone number. Unless a rule or statute
       specifically states otherwise, a pleading need not be verified or accompanied by an affidavit. The
       court must strike an unsigned paper unless the omission is promptly corrected after being called to
       the attorney's or party's attention.

     B. Local Rules

       1. Local Rule 102.1.a.ii. Parties Appearing Without Counsel. When a party is appearing without
       counsel, the Clerk will accept for filing only documents signed by that party.

       2. Local Rule 102.1.b.i. Required on All Court Documents. At the bottom of all court documents,
       counsel and self−represented litigants shall state their name, address, telephone number, email and
       fax number. Counsel shall also state their bar number assigned by this Court. This is not a substitute
       for compliance with L.R. 101.1.b.ii and 701.3.

       3. Local Rule 103.6.a. Original of Proposed Amendment to Accompany Motion. Whenever a party
       files a motion requesting leave to file an amended pleading, the original of the proposed amended
       pleading shall accompany the motion. If the motion is granted, an additional copy of the amended
       pleading need not be filed. The amended pleading shall be deemed to have been served, for the
       purpose of determining the time for response under Fed. R. Civ. P. 15(a), on the date that the Court
       grants leave for its filing.



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